 

Case 2:11-cv-01541-RGK-CW Document 20-2 Filed 12/01/11 Page1of13 Page ID #:452

EXHIBIT ‘E’
 

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Claims Office PROGRESSIVE
P.O. Box 1940 Underwritten by: United Financial Casualty
Rancho Cordova, CA 94741 Company
Telephone: 916-955-6659 Fax Policy Holder: Novation Trucking Compan
916-904-5562 Claim number: 104104673

Date of loss: 0/18/2010

Today's date: 09/28/2010

Wagenseller Law Firm C/O Novation Trucking
555 W STh Street 315t Flr
Los Angeles, CA 90013

Your Client: Novation Trucking, Eddie and Leticia Atkins

Unfortunately, we are unable to provide coverage for the above referenced foss. This letter will
explain the basis for this determination.

Our coverage investigation has revealed the following:

1. Your wife, Leticia Atkins reported the theft of your 2009 Kenworth W90 and 1998 Wabash Trailer
to United Financial Casualty on February 5, 2010.

2. On February 8, 2010 we obtained Leticia's initial statement wherein she stated Damon Loudd was
the last driver of your truck and trailer. She stated Damon parked the truck and trailer on the street in
Fontana, CA . She stated on February 2, 2010 at approximately 10:30-11:00am she went with you and
Damon to pickup the truck/trailer from Fontana and move them to a shop for state compliance work to
be completed but noticed the truck and trailer were missing. Leticia stated you dropped off Damon and
then proceeded to the police station to file a police report. She stated the truck and trailer had been
paid off and were not listed for sale. She stated the truck/trailer were last used in November 2009 by
driver Jonathan Wilkerson whom you had to let go due to credit card theft. She stated she had no
suspects for the theft and had no financial problems.

3. On February 8, 2010 we also obtained your initial statement wherein you stated you last saw the
truck and trailer on January 18, 2010 with Damon. You stated the trailer needed to be serviced
according to a new state law and you finally saved approximately $4000-5000 to have the service
completed. You stated you, your wife(Leticia) and Damon arrived at the loss location around 10:30am
and noticed both the truck and trailer missing. You stated you did not have any of the vehicle
information with you therefore, you dropped off Damon at his residence and went home to obtain the
vehicle information. You then drove to the police station to report the vehicles missing. You also

stated you had no financial difficulties.

4. On March 1, 2010 we sent a Reservation of Rights letter requesting for your cooperation. We

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needed to obtain in person statements from you and your wife with special investigator, Shawn
Asselin, we needed your ceil phone records, tax retums for 2008 and 2009, we needed the bill of sale
for the truck and trailer and bank statements for your personal and business accounts from October

2009 to current.

5. On March 8, 2010 we were notified you had retained an attorney for your claim.

6. On March 25, 2010 we requested Examinations Under Oath for you and your wife, Leticia, with our
attorney, Teresa Starinieri,

7. On April 23, 2010 we were notified the Examinations Under Oath were scheduled for May 12, 2010
hewever your attorney failed to confirm this appointment. On May 18, 2010 we sent another
Reservation of Rights requesting for your cooperation and completion of your Examinations Under
Oaths with attorney, Teresa Starinieri.

8. On May 28, 2010 we were informed by your attorney, Laine Wagenseller, he needed more time to
obtain all the documents we requested and he would call to rescheduled the Examinations Under

Oaths.

9. On July 14, 2010 you and your wife, Leticia completed your Examinations Under Oaths with our
attorney, Teresa Starinieri. During both your testimonies, you testified that the vehicles from the end
of November of 2009 up until January 18, 2010 had been stored at the abandoned parking lot of the
Levitz store located near your residence in Hawthorne, California. You testified on January 18°, 2010,
you along with your wife and Mr. Loudd moved the vehicles to Ilex street approximately 500 feet from
Rubios Trailer Service. You and your wife denied ever attempting to sell the vehicles prior to this loss.
You and your wife also denied ever having the vehicles stored at a storage facility or paying for storage

at a storage facility,

10. On February 11, 2010, we spoke with Danny Rubio of Rubios Trailer Service. Mr. Rubio advised
us that on December 15, 2010 you brought the truck and trailer to Rubios Trailer Service in order to
store the vehicle and trailer. You advised Mr. Rubio that you were attempting to sell the tractor and
trailer for $100,000.00. Mr. Rubio further advised us that on Saturday, January 16, 2010, you and Mr.
Loudd returned to Rubios Trailer Service and removed the truck and trailer as you could not afford to
pay the monthly $150.00 storage fee. Against the recommendation of Mr. Rubio, you and Mr. Loudd

moved the truck and trailer on January 16" to the comer of Ilex and Whitman Avenue. On Sunday,

January 17”, Joe Rubio noted that your truck and trailer were no longer parked at this location. Neither
Danny Rubio nor Joe Rubio haye seen the truck and trailer since this date and at no point in time did
either of you or Mr, Loudd ever advise Danny or Joe Rubio that the truck and trailer had been stolen.

11. While you and your wife denied ever attempting to sell the truck and trailer, through our
investigation we located an online advertisement for the truck and trailer. The advertisement was
listed December 14, 2009 and was linked to an E-Bay advertisement which expired on December 29,

2009.

12. You and your wife have testified that on February 2, 2010, you intended to move the truck and

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trailer from Hex Street to the repair facility in order to have the trailer and tractor repaired as you now
had the funds available. The estimated repairs for the mandatory emissions updates were estimated to
cost between $4,000.00 and $8,000.00 doliars. You testified that the estimated costs for the trailer
were between $600.00 and $700.00. Although the bank records submitted did indicate you had a
posilive balance , the records did not show the necessary funds available to pay for the work which
would be needed on the vehicle in order to allow it to begin operating on the roadway pursuant to the
new governmental regulations which had taken effect as of January 1, 2010.

13. Our Attorney, Teresa Starinieri confronted your wife with the adverstisment we located in which
she continues to deny but indicated your son may have listed the advertisment without either of your
knowledge. Teresa also confronted your wife regarding the bank records which did not reflect enough
funds to pay for the new government regulations for the trucks and trailer. Your wife claimed she had
other bank statements which had not been submitted. We also requested for her Verizon Wireless
Release form to obtain additional cell records.

14. On August 31, 2010 we sent a supplemental Reservations of Rights letter requesting for the
additional bank records and Verizon Wireless Release form and to date have had no response.

Due to the multiple inconsistencies not limited to the above and lack of cooperation, we respectfully
deny coverage.

Your policy, 6912 form edition 03/05, states on page | under:

"YOUR DUTIES IN THE EVENT OF AN ACCIDENT, CLAIM, LOSS OR SUIT"

Notify Us As Soon As Practicable After An Accident Or Loss

If an insured or insured auto is involved in an accident or loss for which this surance
may apply, the accident or loss must be reported to us as soon as practicable by calling
1-800-XXX-XXXX, even if the insured is not at fault,

You, or any other person or organization claiming coverage as an insured, should provide
the following accident or loss information as soon as it is available:

* time, place, and circumstances of the accident or loss (for example, how the accident
happened and weather conditions); .

« names and addresses of all persons involved, and of any witnesses;

* the license plate numbers of the vehicles involved; and

* any other facts available concerning the accident or loss.

You, or any other person or organization claiming coverage as an insured, must also
notify the police within twenty- four (24) hours or as soon as practicable if:
* the owner or operator of a vehicle involved in the accident cannot be identified; or

* theft or vandalism has occurred.

You and any person or organization claiming coverage as an insured must:
* assume no obligation, make no payment, or incur no expense without our consent,

except at the insured’s own cost;

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* cooperate with us in any matter concerning a claim or lawsuit;

* provide any written proof of loss we may reasonably require;

* allow us to take signed and recorded statements, including swom statements and
examinations under oath, and answer all reasonable questions we may ask as often as

we may reasonably require;"
Also page 24 under "GENERAL PROVISIONS" #11 reads:

"11. Fraud, Misrepresentation and Concealment

This policy shall be void in any case of fraud by you, or anyone acting on your
behalf, at any time as it relates to the policy. We may deny coverage for an accident
or loss if you or any other insured knowingly concealed or misrepresented any
material fact or circumstance or engaged in fraudulent conduct in connection with the
presentation or settlement of a claim. We reserve all rights to indemnity against a
person committing fraud or misrepresentation for all payments made and costs

incurred."

After applying the facts known to us to the applicable policy language above we have concluded that
we are not able to afford coverage for the above captioned loss due to your failure to fully cooperate

and the multiple misrepresentation you have provided.

Should you not be satisfied with the handling of this claim, please immediately contact my supervisor,
Kelly Dobbins, at 916-864-5189. You may also wish to discuss any wrongful denial or rejection

concerns with the following state agency:

California Department of Insurance
Consumer Affairs Division
300 South Spring Street
Los Angeles, CA 90013
1-800-927-HELP or 1-213-897-8921

This decision is based on our investigation to date. Please contact our office immediately with any
information you feel may affect this decision. ,

You have the right to consult with an attorney of your own choosing, at your own expense, with respect
to the issues raised in this letter. If you have any information that contradicts the facts as revealed by
our investigation to date or any other information you feel should be considered please contact me

immediately.

Sincerely,

Loui Craig
Loni Craig, Ext.6157
Claims Representative

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‘i Commercial Truck for Sale: 2009 Kenworth W900 w/ Reefer [

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| Trucks e Caen Truck for all 2009 Kenworth W900 w/ Reefer trailer

: for
Sale 2009 Kenworth ws00 wiReefer trailer
| Model: W900 wiReefer tralier Location: hawthorne, CA Transmission type: Manui
| Join Date: / Make: Kenworth Condition: Used Transmission speeds: 18
; Jun 2009 Type: Semi - sleeper conventional Engine make: Cummins Suspension type: Air
| Posts: Year: 2009 Engine horsepower: S00 Number of axles: Tandem
+ 203,464 Mileage: 193000 Tire size: 24.5 Class: -
Credits: ° Fuel Type: Diesel For Sale By: Private seller VIN: 1XKWD49XX9R2503€
672,799.6

® CLICK HERE TO VIEW THE PRICE
@ MORE DETAILS

http://www.sportfishermen.com/board/f405/commercial-truck-sale-2009-kenworth- w900-.... 02/09/2010

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Commercial Truck for Sale: 2009 Kenworth W900 w/Reefer trailer - Spo

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‘@CLICK HERE TO VIEW MORE PICTURES

2009 Kenworth W900 Vehicle Description 2009 Kenworth W900 with Cummins ISX600 600hp@ 200
1200rpm, 291 in wheelbase, 86 inch Aeracab sleeper, Fuller 18 speed transmission with 6 spring cer

| front axle, dual rear axles 40,000|bs with a 3.25:1 ratio, differential lock for dual rear axles, dual 150 ¢

heater with integral defrosters & A/C, Air cushion premium leather seats, cd player with am/fm, and c
options not listed. This is a truck is in good condition and well maintained. This sale needs to be paid
not available from us, if you have any questions regarding the sale please feel free to contact me anc
questions as quickly as i can, thank you and good fuck on bidding.

|@ ARE YOU INTERESTED IN THIS TRUCK? CLICK HERE

: More...

 

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ee Motors Sign in

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Cars & Trucks ¥ Parts & Accessories ¥ Motorcycles ¥ P

@ Back to home page | Listed in category: eBay Motors > Other Vehicles & Trailers > Commercial Trucks > Semi Trucks > Sleep

Bidding has ended on this item.
Item: 2009 Kenworth W900 w/Reefer tralier

2009 Kenworth W900 w/Reefer tralier

2009 Kenworth W900 w/Reefer trailer

Ended:
Bid history:

Starting bid:

Payment:

Shipping:

 

ltem Location:

Coverage.
Enlarge

 

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Description Shipping Payment Before You Buy

Dee 20, 2009 20:30:41 PST
0 bids

US $90,000.00

Reserve not met

@ Get low monthly payments

Full payment required within 19 days ¢
Buyer responsible for vehicle pick-up ¢
Vehicle shipping quote is available.

hawthorne, CA, United States

This vehicle is eligible for up to $50,00
Protection. (Not eligible for eBay Buyer Prc

hitp://cgi .ebay.com/ebaymotors/ws/eBay!S APL.dll? Viewltem&item=2 70501 194675é&vie... 02/09/2010

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Last updated on 08:40.23 PM PST, Dec 13, 200 View all revisions
2009 Kenworth W900 w/Reefer tralier

Title: 2009 Kenworth W900 w/Reefer trailer
Mileage: 193,000 miles
Location: hawthorne, CA

Vehicle Information

VIN: | 1XKWD49XX9R250364

Vehicle title: Clear

Condition: Used

Features

Type: Semi - sleeper Engine make: Cummins
conventional ne

Class: - Engine horsepower: 600

Fuel type: Diesel Suspension type: Air

Number of axles: Tandem

2009 Kenworth W900

Vehicle Description

m@rpm, 291 in wheelbase, 8¢
axle, dual rear axles 40,00
integral defrosters & A/C,
Ba This is a truck is in good ct
ae, if you have any questions
an, thank you and good lu

 
 
  
 
  
  

 

 

 

 

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2009 Kenworth W900 w/Reefer trailer : eBay Motors (item

 

 

 

 

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Safe Buying Tips for Vehicles
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€} GET up to $50,000 in Vehicle Purchase Protection FREE when you buy qualified vehicles on eBay Motor:

o BEWARE of fraudsters who send fake email messages claiming to represent or offer escrow services as

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Views: 1 total

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